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April 5, 2023

VIA E-FILING

The Honorable Richard M. Gergel
United States District Court Judge
District of South Carolina

       RE:      Nautilus v. Murdaugh et al., No. 2:22-cv-01307-RMG


Dear Judge Gergel:

Nautilus Insurance Company (“Nautilus”) filed this evening a Motion to Amend the
Scheduling Order [ECF 102]. However, the filing of this motion was premature, as the
Court has not entered an order lifting the administrative stay of this matter. Accordingly,
Nautilus would request leave to withdraw the filing to be refiled at the appropriate time.

With humble thanks and kindest regards,

EPTING & RANNIK



Jaan G. Rannik




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